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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

               v.
                                                              No. 22-cr-215
SUNI MUNSHANI and SURESH
MUNSHANI,

                            Defendants.


  STIPULATION AND [PROPOSED] ORDER OF SUBSTITUTION OF COUNSEL

       IT IS HEREBY STIPULATED AND AGREED by and among the undersigned,

subject to this Court’s approval, that:

       1.      Lance A. Clarke of the law firm Hamilton Clarke, LLP, 48 Wall Street,

Suite 1100, New York, New York 10005 withdraws and is granted leave to withdraw as

counsel for Defendant Suresh Munshani;

       2.      Martin H. Kaplan and Kari Parks of the law firm Gusrae Kaplan Nusbaum

PLLC, 120 Wall Street, 25th Floor, New York, New York 10005, are substituted for Mr.

Clarke as counsel for Defendant Suresh Munshani;

       3.      This substitution is made at the request of Defendant Suresh Munshani;

and

       4.      The United States of America consents to Mr. Munshani’s substitution of

counsel.




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Dated: May 26, 2022
       New York, New York

GUSRAE KAPLAN NUSBAUM PLLC                  HAMILTON CLARKE, LLP

/s/ Martin H. Kaplan                        /s/ Lance A. Clarke
Martin H. Kaplan                            Lance A. Clarke
Kari Parks                                  Hamilton Clarke, LLP
120 Wall Street, 25th Floor                 48 Wall Street, Suite 1100
New York, New York 10005                    New York, New York 10005
(212) 269-1400                              (212) 729-0952
mkaplan@gusraekaplan.com                    LC@HamiltonClarkeLLP.com
kparks@gusraekaplan.com

DEFENDANT SURESH MUNSHANI

/s/ Suresh Munshani




SO ORDERED:




The Honorable Jed S. Rakoff, U.S.D.J.

Aug 26      , 2022
New York, New York




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